Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 1 of 7 Page ID #:411
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 2 of 7 Page ID #:412

 USA vs.      Owen Lazaro Thompson                                Docket No.:   SACR 19-00173-JLS

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specified

The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution
payments pursuant to the following schedule: Restitution shall be due during the period of imprisonment, at the rate of
not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any
amount of the restitution remains unpaid after release from custody, nominal monthly payments of at least 10% of
defendant's gross monthly income but not less than $100, whichever is greater, shall be made during the period of
supervised release and shall begin 30 days after the commencement of supervision. Nominal restitution payments are
ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future
payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall be held jointly and severally liable with convicted codefendant Caleb Jamal Griffin for the amount
of restitution ordered in this judgment. The victims' recovery is limited to the amount of their loss and the defendant's
liability for restitution ceases if and when the victims receive full restitution.

The defendant shall comply with Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine in addition to restitution.

The Court recommends that the Bureau of Prisons conduct a physical and mental health evaluation of the defendant and
provide all necessary treatment and medications. This evaulations shall also take into consideration whether defendant
should be placed in a level 4 facility based on his medical conditions.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Owen Lazaro
Thompson, is hereby committed on Count 2 of the Indictment to the custody of the Bureau of Prisons for a term of 12
MONTHS PLUS ONE DAY.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years under
the following terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
            Office and Amended General Order 20-04;

         2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
            one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
            exceed eight tests per month, as directed by the Probation Officer;

         3. During the period of community supervision, the defendant shall pay the special assessment and restitution in
            accordance with this judgment's orders pertaining to such payment;

         4. The defendant shall participate for a period of eight months in a home detention program which may include
            electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification system and shall observe


CR-104 (docx 10/18)                     JUDGMENT & PROBATION/COMMITMENT ORDER                                    Page 2 of 7
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 3 of 7 Page ID #:413

 USA vs.      Owen Lazaro Thompson                                Docket No.:   SACR 19-00173-JLS

              all rules of such program, as directed by the Probation Officer. The defendant shall maintain a residential
              telephone line without devices and/or services that may interrupt operation of the monitoring equipment;

         5. The defendant shall cooperate in the collection of a DNA sample from the defendant;

         6. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
            judgments and any other financial gains to the Court-ordered financial obligation;

         7. The defendant shall participate in mental health treatment, which may include evaluation and counseling, until
            discharged from the program by the treatment provider, with the approval of the Probation Officer;

         8. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
            treatment to the aftercare contractors during the period of community supervision. The defendant shall
            provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
            to pay, no payment shall be required; and

         9. The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as
            defined in 18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or
            media, email accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s
            control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to
            submit to a search may be grounds for revocation. The defendant shall warn any other occupants that the
            premises may be subject to searches pursuant to this condition. Any search pursuant to this condition will be
            conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has
            violated a condition of his supervision and that the areas to be searched contain evidence of this violation.

The Court authorizes the United States Probation & Pretrial Services Office to disclose the Presentence Report, and/or
any previous mental health evaluations or reports, to the treatment provider. The treatment provider may provide
information (excluding the Presentence Report), to State or local social service agencies (such as the State of California,
Department of Social Service), for the purpose of the client's rehabilitation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon on March 5, 2021. In the absence of such designation, the defendant shall report on or before the same
date and time to the United States Marshal located at United States Court House, 411 W. Fourth Street, Santa Ana, CA
92701.

On government’s motion, all remaining counts dismissed.

//


//


//


//

//

CR-104 (docx 10/18)                      JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 3 of 7
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 4 of 7 Page ID #:414

 USA vs.      Owen Lazaro Thompson                                           Docket No.:       SACR 19-00173-JLS

Bond is exonerated upon surrender.

The Court advised the defendant of his right to appeal.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 6, 2020
            Date                                                  U. S. District Judge Josephine L. Staton

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 6, 2020                                By    M. Kunig
            Filed Date                                            Deputy Clerk




CR-104 (docx 10/18)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 4 of 7
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 5 of 7 Page ID #:415

 USA vs.      Owen Lazaro Thompson                                                   Docket No.:     SACR 19-00173-JLS


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable              probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before          requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated          15.    The defendant must follow the instructions of the probation officer
       change;                                                                         to implement the orders of the court, afford adequate deterrence from
                                                                                       criminal conduct, protect the public from further crimes of the
                                                                                       defendant; and provide the defendant with needed educational or
                                                                                       vocational training, medical care, or other correctional treatment in
                                                                                       the most effective manner.




CR-104 (docx 10/18)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                         Page 5 of 7
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 6 of 7 Page ID #:416

 USA vs.      Owen Lazaro Thompson                                               Docket No.:     SACR 19-00173-JLS



   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 7
                Case 8:19-cr-00173-JLS Document 77 Filed 11/06/20 Page 7 of 7 Page ID #:417

 USA vs.      Owen Lazaro Thompson                                              Docket No.:       SACR 19-00173-JLS



                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 7 of 7
